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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )         Crim. No. 17-10092-NMG
                                          )
GARY P. DECICCO                           )
                                          )

                   THIRD AMENDED UNITED STATES’ WITNESS LIST

       The United States respectfully submits this updated list of witnesses it currently intends

to call in its case in chief. The government reserves the right to supplement or modify this list

from time to time, with reasonable notice to the defendant.

Name                                   Address                             Counsel
Pamela Avedisian                       Nahant, MA
Philip Baldi                           Winthrop, MA                        George Vien, Esq.
Thomas Barry                           United States Attorney’s Office
John Cinotti                           Framingham, MA
Scott Davis                            Saugus, MA
Linda DeCicco                          Nahant, MA
Task Force Officer James Donovan       Saugus Police Department
                                       Federal Bureau of Investigation
Lisa Laurano                           Nahant, MA
Victoria Laurano                       Nahant, MA
John Lloyd                             Winthrop, MA                        Edward Principe,
                                                                           Esq.
James Lundrigan                        Lynn, MA
Medi Mirnasari                         Nahant, MA
Detective                              Saugus Police Department
Frank J. Morello
Jeffrey Prime                          Nahant, MA                          Jane Peachy, Esq.
Officer Robert Stanley                 Saugus Police Department
David Witham                           Marblehead, MA
Detective Matthew Zichella             Saugus Police Department
IRS Court Witness
Keeper of the Records
McMahon and Associates, P.C.
Keeper of the Records
Verizon Wireless
Keeper of Records
T-Mobile
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Name                                    Address                             Counsel
Keeper of Records
Comcast
Keeper of Records
New Global Telecom
Keeper of Records
Level 3

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney

                                      By:     /s/Kristina E. Barclay
                                              KRISTINA E. BARCLAY
                                              ROBERT E. RICHARDSON
                                              Assistant U.S. Attorneys
                                              U.S. Attorney’s Office
                                              John J. Moakley U.S. Courthouse
                                              1 Courthouse Way, Suite 9200
                                              Boston, MA 02210
                                              (617) 748-3100

Dated: June 3, 2018


                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      /s/Kristina E. Barclay
                                                      KRISTINA BARCLAY
                                                      Assistant U.S. Attorney
Date: June 3, 2018




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